Case 1:07-cr-01009-V|\/| Document 9 Filed 11/08/2007 Page1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

__________________________________ X
UNITED STATES OF AMERICA '
07 CR. 1009 (VM)
- against - : ORDER
WILLIAM IRIZZARY,
Defendant. :
___________________________________ X

VICTOR MARRERD, United States District Judge.

The Defendant (see attached letter) requests the
exclusion of time until the next scheduled conference in this
matter. The parties are directed to appear before the Court

for a status conference on November 21, 2007 at lO:lB a.m.

All parties to this action consent to an exclusion of the
adjourned time from the Speedy Trial Act until November 21,
2007.

lt is hereby ordered that the adjourned time shall be
excluded from speedy trial calculations. This exclusion is
designed to guarantee effectiveness of counsel and prevent any
possible miscarriage of justice. The value of this exclusion
outweighs the best interests of the defendants and the public
to a speedy trial. This order of exclusion of time is made
pursuant to 18 U.S.C. §§ 3161(h)(8)(B)(ii) & (iv).

 

 

 

 

 

 

SO ORDERED:
Dated: New York, New York
7 November 2007

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EI.ECTRONICALLY FI`LED Victor Marrero
DCKI#: . U.S.D.J.
DATE FILED: / f 5 'U 7

 

 

 

 

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Federa]' Defenders 52 Duanc Strcct-`lOth Floor, New York, NY 10007
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Le<)nard F. _lc)y )Ohn I_ Bymc5

Executwe Director Auiwwy-\"\»Chmge

Novcmber 7, 2007

By Facsimile

` 'Honorable Victor Marrero
United States Distn'ct ]udge
United States Courthouse
500 Pearl Street
New York, NY 10007

Re: United States v. William Irizzag[
o%`(cr. 1009 (vM)
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Dear ]udge Marrero:
Vfith the consent of the government, I write on behalf of my client, erlia.m Irizatry,
to request that the Court schedule a status conference in the above-referenced case. I

understand from Chambers that the Court is available on November 21, 2007, at 10:15 a.m.
and request that the conference be scheduled for that time.

. On behalf of Mr. Ixinary I waive any objection to exclusion of time between this
writing and the adjourn date from any speedytrial calculation

Resjctfullysubmitted,
Wl C/’_
PeggyM. M.os@s
Staff Attomey
ms (212) 417-3732

cc: AUSA ]ohn Cronan (by facsimile)

TOTAI. P_ODO

